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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION



Michael Shane Crowder
                     Plaintiff,
                                            )                                U *1   J
                                            )    Case No.

VS
Medicredit, Inc.
                Defendant,                 )     TRIAL BY JURY DEMANDED



                              ORIGINAL COMPLAINT


TO THE HONORAPLE UNITED STATES DISTRICT JUDGE:


                               NATURE OF ACTION


      1.      This is an action for damages brought by the Plaintiff

for Defendant's violations of the Fair Debt Collection Practices

Act (hereinafter FDCPA) 15 U.S.C.         § 1692,    and Telephone Consumer

Protection Act (hereinafter TCPA)        47 U.S.C.    § 227.

     2.       Plaintiff seeks to recover damages for Defendant's

violation of the FDCPA and TCPA.

                                  JURISDICTION




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               3.               This court has jurisdiction under 15 U.S.C.                                                                         §


1692k(d),                       47 U.S.C.                    §   227(b) (3),                 and 28 U.S.C. § 1331.


                                                                                       VENUE

               4.               The occurrences which give rise to this action

LI   cs   i_   s.     s   .s.   is   .i   Li   s   _L.   b   LI Liii       .y   .
                                                                                    m----
                                                                                     Li       isis_s   ii Li   Li
                                                                                                                    r---
                                                                                                                    ii LI Liii L_y   .   .1.   Liii. Li .)




               5.               Plaintiff resides in Hays County, Texas.

               6.               Plaintiff transacts business in Travis County, Texas

and Hays County,                                         Texas.

               7.               Venue is proper in the Western District of Texas,

Austin Division.

                                                                                      PARTIES

               8.               Plaintiff, Michael                                    S.    Crowder, is a natural person,

who resides in Hays County, Texas.

               9.               Plaintiff is                           a        "consumer" as defined by FDCPA 15

U.S.C. § 1692a(3).

               10.              Defendant, Medicredit,                                       Inc.       (hereinafter "Medicredit")

is a "debt collector" as defined by FDCPA 15 U.S.C.                                                                                            § 1692a(6)


with an office in Saint Louis, MO.


                                                                       FACTUAL ALLEGATIONS

               11.              On or about August 21,                                       2015 Medicredit made the first

of 27 calls to Plaintiff's wireless phone number 208-859-5624




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from 800-888-2238 and continuing through February 10, 2016 using

ATDS capable equipment.

       12.   Defendant Medicredit called Plaintiff's wireless phone

number 208-859-5624, on or about the following dates and times

from number 800-888-2238 that the Plaintiff documented:

  1) August 21, 2015 at 9:08 AM
  2) August 24, 2015 at 12:03 PM
  3) August 28, 2015 at 9:07 AM
  4) September 16, 2015 at 5:33 PM
  5) September 29, 2015 at 6:51 PM
  6) October 2,  2015 at 9:06 AM
  7) October 6, 2015 at 9:40 AM
  8) October 9, 2015 at 9:06 AM
  9) October 13, 2015 at 9:28 AM
  10)   October 21, 2015 at 10:04 AM
  11)   October 22, 2015 at 9:29 AM
  12)   November 4, 2015 at 11:54 AM
  13)   November 5, 2015 at 9:12 AM
  14)   November 11, 2015 at 9:11 AM
  15)   November 18, 2015 at 1:46 PM
  16)   November 19, 2015 at 3:48 PM
  17)   November 25, 2015 at 9:11 AM
  18)   December 2, 2015 at 9:28 AM
  19)   December 9, 2015 at 5:44 PM
  20)   December 10, 2015 at 10:22 AM
  21)   December 16, 2015 at 9:46 AM
  22)   December 23, 2015 at 9:21 AM
  23)   January 4, 2016 at 6:20 PM
  24)   January 22, 2016 at 2:46 PM
  25)   January 26, 2016 at 5:41 PM
  26)   February 2, 2016 at 4:21 PM
  27)   February 10, 2016 at 6:24 PM

       13.   When Plaintiff did answer the Defendant's call,

Defendant failed to disclose the communication as from         a   debt

collector.




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        14.   When Plaintiff did answer the Defendant's call,

Defendant would not say anything and there was only dead air.

        15.   Plaintiff documented each of the above listed calls he

was aware of, at or near the time each of the calls was placed

to his wireless phone number 208-859-5624.           Details include but

are not limited to:     the date, time, whether he answered the

call,    and whether the caller said anything.

        16.   Defendant is   a   debt collection company who at all

relevant times was engaged, by the use of mail or telephone,             in

the business of attempting to collect a consumer 'ciebt" from

Plaintiff, as defined by FDCPA 15 U.S.C. § 1692a(6)

        17.   Defendant made the calls to Plaintiff's wireless phone

using automatic telephone dialing system (ATDS) capable

equipment without prior express written consent from the

Plaintiff to do so.

        18.   Defendant made numerous calls to the Plaintiff's

wireless phone that were not for "emergency purposes," as

referenced in 47 u.s.C. §227(b)        (1) (A).


        19.   The phone number 800-888-2238       is known to be used by

Defendant Medicredit in its debt collection operations.

        20.   Defendant called numerous times and each call was at            a


time that was inconvenient.




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     21.        Plaintiff's cellular phone number 208-859-5624 has

been registered on the National Do Not Call Registry since

October    7,    2008.

     22.        Plaintiff has never had any business with Defendant at

any time.

     23.        Upon information and belief, the telephone calls

identified above were placed to Plaintiff's cellular telephone

number using an automatic telephone dialing system and/or an

artificial or pre-recorded voice.

     24.        Upon information and belief, Defendant voluntarily

placed the telephone calls to Plaintiff identified above.

     25.        Upon information and belief, Defendant under its own

free will placed the telephone calls to Plaintiff identified

above.

     26.        Upon information and belief, Defendant had knowledge

that it was using an automatic telephone dialing system to place

each of the telephone calls identified above.

     27.        Upon information and belief, Defendant intended to use

an automatic telephone dialing system to place each of the

telephone calls identified above.

     28.        Upon information and belief,   Defendant maintains

business records that show all calls Defendant placed to




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Plaintiff's cellular telephone number.

       29.    For each call made by Defendant that failed to

disclose the identity of the caller or the purpose of the call

appears to be        a   violation of 15 U.S.C.     §   1692d and/or §

1692d(6)

       30.    For each call made by the Defendant using ATDS capable

equipment without the prior express written consent of the

called party appears to be           a    violation of 47 U.S.C.     §


227(b)   (1) (A)   (iii).


       31.    The call on February 10,          2016 falls within the statute

of limitations of one year under the FDCPA.


       32.    All calls fall within the statute of limitations of

four years under the TcPA.


       33.    On March 30, 2016,          Plaintiff sent   a   Notice of Intent

to Litigate stating his intent to file a civil action against

Defendant if the parties could not reach an amicable settlement

of the damages incurred by Nedicredit's violations.                      Notice was

sent by USPS using Certified Mail Receipt #70112000000193309385

and was delivered on April           4,    2016 to Defendant's registered

agent for Texas which is c               corporation System at 1999 Bryan

St.,   Ste.   900,       Dallas, Texas.




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                                         COUNT   I

                        VIOLATIONS OF 15 U.S.C. § 1692d(6)

       34.     Plaintiff repeats and re-alleges each and every

factual allegation above.

       35.     Defendant violated the FDOPA. Medicredits' violations

include, but are not limited to, the following:

                   a.   Defendant violated FDCPA 15 U.s.c.          §   1692d(6) by

                        "the placement of telephone calls without

                        meaningful disclosure of the caller's identity".


WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       A)    Adjudging that Defendant violated the 15 U.s.c.                   §


1692d(6)

       B)    Awarding Plaintiff statutory damages, pursuant to FDCPA

15 U.s.c.      §   1692k(a)   (2) (A),   in the amount of $1,000;

       0)    Awarding Plaintiff actual damages, pursiant to 15 U.s.c.

§   1692k(a) (1);

       0)    Awarding Plaintiff reasonable attorneys'              fees and costs

incurred in this action pursuant to                  15 U.s.c.   § 1692k(a) (3);


       D)    Awarding Plaintiff any pre-judgment and post-judgment

interest as may be allowed under the law;

       E)    Awarding such other and further relief as the court may

deem just and proper.




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                                        COUNT II
                       VIOLATIONS OF 15 U.S.C. § 1692e(11)

     36.     Plaintiff repeats and re-alleges each and every

factual allegation above.

     37.     Defendant violated the FDCPA. Medicredits' violations

include, but are not limited to,             the following:

                  a.   Defendant violated FDCPA 15 U.S.C.          §   1692e(ll) by

                       failing to notify Plaintiff during each

                       collection contact that the communication was

                       from a debt collector.


WHEREFORE,       Plaintiff prays for relief and judgment, as follows:

     A)    Adjudging that Defendant violated the 15 U.S.C.                    §


1692e (11;

     B)    Awarding Plaintiff statutory damages, pursuant to FDCPA

15 U.S.C.    §    1692k(a)   (2) (A),   in the amount of $1,000;

     C)    Awarding Plaintiff actual damages, pursuant to 15 U.S.C.

§ 1692k(a) (1);

     C)    Awarding Plaintiff reasonable attorneys' fees and costs

incurred in this action pursuant to                15 U.S.C.   §   1692k(a) (3);

     D)    Awarding Plaintiff any pre-judgment and post-judgment

interest as may be allowed under the law;

     E)    Awarding such other and further relief as the Court may




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deem just and proper.


                                               COUNT III
                VIOLATION OF 47 U.S.C. § 227               (b) (1) (A) (iii)


        38.     Plaintiff repeats and re-alleges each and every

factual allegation above.

        39.     Defendant violated the TCPA. Medicredits'                  violations

include, but are not limited to,                    the following;

                    a.   Defendant violated TCPA 47 U.S.C.            §


                         227(b)   (1) (A)   (iii)   by willfully and knowingly

                         making calls to Plaintiff's cellular number

                         utilizing an automatic telephone dialing system.


WHEREFORE,       Plaintiff prays for relief and judgment, as follows:

        A)    Adjudging that Defendant violated the 47 u.S.C.                      §


227   (b) (1) (A)   (iii);

        B)    Awarding Plaintiff statutory damages, pursuant to 47

u.s.c. § 227(b)          (3) (B);     in the amount of $500.00 per violation;

        C)    Awarding Plaintiff statutory damages, pursuant to 47

u.s.c. § 227(b)          (3)   (C);   in the amount of $1500.00 per violation;

        D)    Awarding Plaintiff costs incurred in this action;

        E)    Awarding Plaintiff actual damages, pursuant to 47 U.S.C.

§ 227(b) (3) (B);


        E)    Awarding Plaintiff any pre-judgment and post-judgment



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interest as may be allowed under the law;

        F)    Awarding such other and further relief as the Court may

deem just and proper.

                                           COUNT IV
                         TEX.   BUS.   & COM.   CODE § 305.053

        40.        Plaintiff repeats and re-alleges each and every

factual allegation above.

        41,        Plaintiff received communications originated by

Defendant that violated 47 U.S.C.               § 227.


        WHEREFORE, Plaintiff prays for relief and judgment, as

follows:

        A)    Adjudging that Defendant violated 47 U.S.C.                   § 227;


        B)    Enjoining Defendant from continuing its violative

behavior, pursuant to Tex. Bus.             &   Corn.   Code § 305.053(a) (1);

        C)    Awarding Plaintiff statutory damages in the amount of

$500.00 per violation, pursuant to Tex.                  Bus.   &   Corn.   Code §

305.053      (b)


        D)    Awarding Plaintiff actual damages, pursuant to Tex. Bus.

&   Corn.    Code § 305.053(b);

        E)    Awarding Plaintiff treble damages, pursuant to Tex. Bus.

&   Corn.    Code § 305.053(c);

        F)    Awarding Plaintiff reasonable attorneys' fees and costs




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incurred in this action;

      G)   Awarding Plaintiff any pre-judgment and post-judgment

interest as may be allowed under the law;

      H)   Awarding such other and further relief as the Court may

deem just and proper.



                       DEMAND FOR TRIAL BY JURY

      Plaintiff is entitled to and hereby demands a trial by jury

of all issues so triable as a matter of law.


                                 Dated: February 8, 2017

                                 Respectfu    y submitted,




                                 Michael Shane Crowder
                                 Without Prejudice U.C.C. 1-308
                                 161 Sawgrass Circle
                                 Kyle, Texas 78640
                                 208-859-5624




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